Case 1:20-cv-00606-MN            Document 12          Filed 07/27/21    Page 1 of 2 PageID #: 142




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

IN RE CROWN CASTLE INTERNATIONAL                      C.A. No. 20-606-MN
CORP. DERIVATIVE LITIGATION
                                                      CONSOLIDATED

                            NOTICE OF VOLUNTARY DISMISSAL
        Pursuant to Fed. R. Civ. P. 41, Plaintiffs, by and through Plaintiffs’ undersigned counsel,

hereby give notice that the above-captioned action is voluntarily dismissed, without prejudice

against the Defendants and Nominal Defendant.

        Voluntary dismissal is appropriate under Fed. R. Civ. P. 41(a)(1) given that Defendants

and Nominal Defendant have not answered the Complaint nor filed a motion for summary

judgment.

        Additional notice of this voluntary dismissal is not required under Fed. R. Civ. P. 23.1(c)

because neither Plaintiff nor Plaintiffs’ counsel has received or will receive any compensation for

this dismissal whatsoever except that counsel for the parties have conferred and agreed that all

parties shall bear their own costs of this litigation.

Dated: July 27, 2021                                     Respectfully submitted,

                                                         FARNAN LLP

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Case 1:20-cv-00606-MN     Document 12       Filed 07/27/21        Page 2 of 2 PageID #: 143




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                                                Counsel for Plaintiff Bruno


IT IS SO ORDERED this WKday of -XO\2021

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                                                 ________________________
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                                  KH+RQR  QQRRUDEOH0DU\HOOHQ1RUHLND
                                 7KH+RQRUDEOH0DU\HOOHQ1RUHLND
                                 United d States District Judge




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